Case 5:17-cr-00020-FPS-JPM    Document 98   Filed 11/05/18    Page 1 of 3 PageID #:
                                     914


                  IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


UNITED STATES OF AMERICA,

            Plaintiff,

v.                                           Criminal Action No. 5:17CR20
                                                                  (STAMP)
DR. ROLAND F. CHALIFOUX, JR.,

            Defendant.


            ORDER DENYING WITHOUT PREJUDICE THE UNOPPOSED
                MOTION TO DISMISS OF THE UNITED STATES

       On October 30, 2018, the United States filed its unopposed

motion to dismiss the remaining counts of the indictment, Count One

through Eleven and Counts Twenty-Three through Twenty-Six (ECF No.

95).

       In support of this motion, the United States states that the

parties have agreed to enter into a pretrial diversion agreement in

which   defendant    agrees    to   pay   restitution    in    the   amount    of

$28,606.75 and to abide by other terms set forth in that agreement.

The United States asserts that under that agreement, it will

dismiss the pending counts of the indictment against the defendant

without    prejudice.         The   fully-executed      pretrial      diversion

agreement, effective October 30, 2018, has now been filed.                  While

the    pretrial   diversion    agreement    asserts     in    part   that    “the

Indictment pending in case number 5:17CR20 in the Northern District

of West Virginia will be dismissed without prejudice subject to

refiling, and any further prosecution in this District for this

offense shall be deferred for the period of twelve (12) months from
Case 5:17-cr-00020-FPS-JPM   Document 98   Filed 11/05/18   Page 2 of 3 PageID #:
                                    915


the date that this agreement is fully executed, provided you abide

by the following conditions and the requirements of this Agreement

set forth below;” the agreement also states: “After successfully

completing your Pretrial Diversion Program and fulfilling all the

terms and conditions of the Agreement, no prosecution for the above

referenced offense will be instituted in this District, and the

charges against you, if any, will be dismissed.”

      This Court finds that the unopposed motion to dismiss of the

United States is premature and should better be addressed upon the

successful completion of the pretrial diversion agreement by the

defendant which, according to the agreement, should be twelve

months from the date thereof, subject to the defendant’s abiding by

the conditions and requirements of the agreement.

      Accordingly said unopposed motion to dismiss is (ECF No. 95)

DENIED WITHOUT PREJUDICE subject to being refiled at a later

appropriate date.

      This Court does, however, vacate the scheduled trial date of

March 26, 2019.       The parties will also not be subject to any

deadlines contained in the scheduling order in this case, pending

successful completion of the pretrial diversion agreement by the

defendant.

      It is further ORDERED that the period of delay resulting from

the filing of the motion to dismiss until the entry of this Order

shall be excluded in computing the time within which the trial of

the   offenses    charged    must   commence,   in   accordance     with    the



                                      2
Case 5:17-cr-00020-FPS-JPM   Document 98   Filed 11/05/18   Page 3 of 3 PageID #:
                                    916


provisions of 18 U.S.C. § 3161(h)(1)(D).         The period of delay from

and including the date the trial was originally scheduled until the

commencement of trial shall also be excluded in computing the time

within which the trial of the offenses charged in the above-styled

criminal action must commence, in accordance with the provisions of

18 U.S.C. § 3161(h)(7)(A).

      IT IS SO ORDERED.

      The Clerk is directed to transmit a copy of this order to the

defendant, to counsel of record herein, to the United States

Probation Office and to the United States Marshals Service.

      DATED:      November 5, 2018



                                   /s/ Frederick P. Stamp, Jr.
                                   FREDERICK P. STAMP, JR.
                                   UNITED STATES DISTRICT JUDGE




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